
SHAW, Justice.
We have for review M.J.P. v. State, 22 Fla. L. Weekly D2090, — So.2d- (Fla. 1st DCA Sept.3,1997), wherein the district court certified the same question before this court in State v. T.M.B., 716 So.2d 269 (Fla.1998):
DOES SECTION 924.051(4), FLORIDA STATUTES (SUPP.1996), APPLY IN JUVENILE DELINQUENCY PROCEEDINGS?
We have jurisdiction. Art. V., § 3(b)(4), Fla. Const. We have already answered this question in the negative in T.M.B. We approve M.J.P.
It is so ordered.
KOGAN, C.J., and OVERTON, HARDING, WELLS, ANSTEAD and PARIENTE, JJ., concur.
ORDER
The Petitioner’s Motion for Rehearing and/or Clarification is hereby denied.
HARDING, C.J., and OVERTON, SHAW, KOGAN and ANSTEAD, JJ., concur.
WELLS, J., dissents with an opinion, in which PARIENTE, J., concurs.
